                          UNITED STATES DISTRICT COURT 

                          EASTERN DISTRICT OF TENNESSEE 

                                  AT KNOXVILLE 


 PAMELA COLLINS,                             )

                                             )

       Plaintiff,                            )

                                             )

 vs.                                         )

                                             ) Docket No. 3:10-cv-451
 PROGRESSIVE DIRECT                          ) Phillips/Shirley
 INSURANCE COMPANY,                          ) NOTICE OF ENTRY REQUIRED
                                             )

       Defendant.                            )



                    AGREED ORDER AMENDING NAME OF DEFENDANT

        By agreement of the parties and for good cause shown, it is hereby

        ORDERED, AD.ITJDGED AND DECREED that pursuant to Rule 15 of the Federal

 Rules of Civil Procedure, the Defendant's corporate name in the above captioned matter shall be

 amended deleting Progressive Direct Insurance Company and adding MOUNTAIN LAUREL

 ASSURANCE COMPANY.



        ENTER this - - - - - day of --------------------, 2011.



                                    US"1l1::f JUDG E




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 APPROVED FOR ENTRY:

 DANIEL & DANIEL


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 TRAMMELL, ADKINS & WARD, P.e.


 sl     Terrill L. Adkins
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